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                               UNITED STATES DISTRICT COURT

                               MIDDLE DISTRICT OF LOUISIANA


MICHAEL JOHNSON, ET AL.
                                                               CIVIL NUMBER
VERSUS
                                                               18-613-SDD-EWD
PACKAGING CORPORATION OF
AMERICA, ET AL

                                        JUDGMENT


      Considering the Verdict1 rendered by the jury at the completion of the trial of this

matter:

      Judgment is hereby entered in favor of Plaintiffs, Michael Johnson, Charles

Cunningham, Jerry Bailey, Eric Woodard, Michael Darbonne, Michael McCullough,

Demon Benjamin, Pamela Green, and Christopher Herrington and against Defendants,

Packaging Corporation of America and Boise Packaging and Newsprint, LLC.

      IT IS SO ORDERED.

      Baton Rouge, Louisiana, this ___
                                   30th day of April, 2024.



                                          S
                                        CHIEF JUDGE SHELLY D. DICK
                                        UNITED STATES DISTRICT COURT
                                        MIDDLE DISTRICT OF LOUISIANA




          1
              Rec. Doc. 286.
